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AO 91 (Rev. 1 1/1 1) Criminal Complaint



                                      IJNITnD STATES DISTRICT Counr ¡* tL i:l ij
                                                                 for the
                                                        District of Connecticut
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                  United States of America                          )
                                 v                                  )                                 US tl;5Tiìle l'                i

              Nyejire Redmond, a.k.a., "Polo"                       )      Case No                          äF;i*Ë[FÐíiî'lriii:'.
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                                                                    )
                            Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 22,2019               in the count¡r of                Fairfield               in the
                        District of          Connecticut , the defendant(s) violated
             Code Section                                                    Offense Description



18 U.S.c. 922r$ and92a@)Q)                       Possession of a Stolen Firearm




          This criminal complaint is based on these facts:

See attached affidavit of ATF Special Agent Christopher Rettig, incorporated herein by reference




          ú Continued on the attached sheet.



                                                                                       Special Agent Christopher Rettig
                                                                                                Printed name and title

Sworn to before me and signed in my presence.
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                                                                                  / St U,.lttC-,¡t E &t¡.ri.^rQ1
Date:             08t21t2019
                                                                                                  Judge's

City and state:                      Bridgeport, Con necticut               William l. Garfinkel, United States Magistrate Judge
                                                                                                Printed name and title
